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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

  UNITED STATES, et al.,

         Plaintiffs,

  v.                                                  Case No.: 1:23-cv-00108-LMB-JFA

  GOOGLE LLC,

         Defendant.

                  NON-PARTY STRATACOMM LLC’S MOTION TO SEAL

         Pursuant to Local Civil Rules 5(C) and 5(H) and this Court’s June 24, 2024 Order (Dkt.

  871), non-party Stratacomm LLC (“Stratacomm”), through its undersigned counsel, respectfully

  moves this Court to seal portions of certain confidential documents included on Defendant

  Google LLC’s Exhibit List for trial (Dkt. 894). Specifically, Stratacomm respectfully requests

  that the Court protect from public view Stratacomm’s proprietary information contained in the

  documents identified as DTX 0752, DTX 0871, DTX 1320, DTX 1334, and DTX 1368 on

  Google’s Exhibit List. Stratacomm’s proposed redaction of these documents is reflected in blue

  highlighting in Exhibits 1-5 (filed under seal) to the accompanying memorandum of law. As

  explained in the memorandum, sealing a portion of these documents is necessary and tailored to

  protect Stratacomm’s sensitive, confidential, business information.
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  Dated: July 26, 2024.                Respectfully Submitted,

                                       NON-PARTY STRATACOMM LLC


                                       By Counsel
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the July 26, 2024, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system, which will then send a notification of such filing (NEF) to all

  counsel of record.


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